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                                  7                        UNITED STATES DISTRICT COURT
                                  8
                                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  9
                                 10   BRETT DESALVO, individually and            CASE NO.:
                                      on behalf of all others similarly
                                 11   situated,
                                                                                        CLASS ACTION COMPLAINT
                                 12                        Plaintiff,                1. VIOLATIONS OF THE
                                 13                                                     AMERICANS WITH
3055 Wilshire Blvd, 12th Floor




                                            v.
Los Angeles, CA 90010-1137
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                                                                                        DISABILITIES ACT OF 1990, 42
                                 14                                                     U.S.C. §12181
                                 15   YOSHINOYA AMERICA, INC., a                     2. VIOLATIONS OF THE UNRUH
                                      Delaware corporation; and DOES 1 to               CIVIL RIGHTS ACT
                                 16   10, inclusive,                                    DEMAND FOR JURY TRIAL
                                 17                       Defendants.
                                 18
                                 19
                                            Plaintiff Brett DeSalvo (“Plaintiff”), individually and on behalf of all others
                                 20
                                      similarly situated, brings this action based upon personal knowledge as to himself
                                 21
                                      and his own acts, and as to all other matters upon information and belief, based
                                 22
                                      upon, inter alia, the investigations of their attorneys.
                                 23
                                 24                              NATURE OF THE ACTION

                                 25         1.     Plaintiff is a visually-impaired and legally blind person who requires
                                 26   screen-reading software to read website content using his computer. Plaintiff uses
                                 27   the terms “blind” or “visually-impaired” to refer to all people with visual
                                 28   impairments who meet the legal definition of blindness in that they have a visual
                                                                                 1
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  2   meet this definition have limited vision. Others have no vision.
                                  3         2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  4   (hereafter “Class Members”), bring this Class Action to secure redress against
                                  5   Defendant Yoshinoya America, Inc. (“Defendant”) and DOES 1-10, for its failure
                                  6   to design, construct, maintain and operate its website to be fully and equally
                                  7   accessible to and independently usable by Plaintiff and other blind or visually-
                                  8   impaired people. Defendant’s denial of full and equal access to its website, and
                                  9   therefore denial of its products and services offered thereby and in conjunction with
                                 10   its physical locations, is a violation of Plaintiff’s rights under the Americans with
                                 11   Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
                                 12         3.     Because Defendant’s website https://www.yoshinoyaamerica.com/
                                 13   (the “Website” or “Defendant’s website”), is not fully or equally accessible to blind
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                                 14   and visually-impaired consumers in violation of the ADA, Plaintiff seeks a
                                 15   permanent injunction to cause a change in Defendant’s corporate policies, practices
                                 16   and procedures so that Defendant’s website will become and remain accessible to
                                 17   blind and visually-impaired consumers.
                                 18                                     THE PARTIES
                                 19         4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 20   County of Los Angeles. Plaintiff is a legally blind, visually-impaired handicapped
                                 21   person, and member of a protected class of individuals under the ADA, pursuant to
                                 22   42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth at
                                 23   28 CFR §§ 36.101 et seq.
                                 24         5.     Defendant is a Delaware corporation, with its headquarters in
                                 25   Torrance, California. Defendant’s servers for the website are in the United States.
                                 26   Defendant conducts a large amount of its business in California, and the United
                                 27   States as a whole. These restaurants constitute places of public accommodation.
                                 28   Defendant’s restaurants provide to the public important goods and services.
                                                                                 2
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   Defendant’s website provides consumers with access to a variety of modern
                                  2   Japanese cuisines which are available online and in restaurant locations for
                                  3   purchase. Consumers can further access nutritional guides, information about club
                                  4   memberships, restaurant locations, franchising and career opportunities.
                                  5         6.     Plaintiff is unaware of the true names, identities and capacities of the
                                  6   defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                  7   complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                  8   ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                  9   Defendant sued herein as a DOE is legally responsible in some manner for the
                                 10   events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 11   proximately caused injuries and damages to Plaintiff as set forth below.
                                 12         7.     Defendant’s restaurants are public accommodations within the
                                 13   definition    of     Title    III   of   the       ADA,   42   U.S.C.   §   12181(7).
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                                 14   https://www.yoshinoyaamerica.com/ is a service, privilege, or advantage of
                                 15   Defendant’s services, products and locations.
                                 16                                JURISDICTION AND VENUE
                                 17         8.     This Court has subject matter jurisdiction over the state law claims
                                 18   alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                 19   §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                 20   million, exclusive of interest and costs; and (b) some of the class members are
                                 21   citizens of a state (California).
                                 22         9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 23   has been and is committing the acts or omissions alleged herein in the Central
                                 24   District of California that caused injury, and violated rights prescribed by the ADA
                                 25   and UCRA, to Plaintiff and to other blind and other visually impaired-consumers.
                                 26   A substantial part of the acts and omissions giving rise to Plaintiffs’ claims occurred
                                 27   in the Central District of California. Specifically, on several separate occasions,
                                 28   Plaintiff has been denied the full use and enjoyment of the facilities, goods and
                                                                                     3
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   services of Defendant’s website in Los Angeles County. The access barriers
                                  2   Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                  3   full and equal access multiple times in the past, and now deter Plaintiff on a regular
                                  4   basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                  5   has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                  6   enjoyment of goods and services offered at Defendant’s brick-and mortar
                                  7   restaurants.
                                  8         10.      This Court also has subject-matter jurisdiction over this action
                                  9   pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 10   under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 11         11.      This Court has personal jurisdiction over Defendant because it
                                 12   conducts and continues to conduct a substantial and significant amount of business
                                 13   in the State of California, County of Los Angeles, and because Defendant's
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                                 14   offending website is available across California.
                                 15         12.      Venue is proper in the Central District of California pursuant to 28
                                 16   U.S.C. §1391 because Plaintiff resides in this District, Defendant conducts and
                                 17   continues to conduct a substantial and significant amount of business in this District,
                                 18   Defendant is subject to personal jurisdiction in this District, and a substantial
                                 19   portion of the conduct complained of herein occurred in this District.
                                 20     THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 21         13.      The Internet has become a significant source of information, a portal,
                                 22   and a tool for conducting business, doing everyday activities such as shopping,
                                 23   learning, banking, researching, as well as many other activities for sighted, blind
                                 24   and visually-impaired persons alike.
                                 25         14.      In today's tech-savvy world, blind and visually-impaired people have
                                 26   the ability to access websites using keyboards in conjunction with screen access
                                 27   software that vocalizes the visual information found on a computer screen. This
                                 28   technology is known as screen-reading software. Screen-reading software is
                                                                                 4
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   currently the only method a blind or visually-impaired person may independently
                                  2   access the internet. Unless websites are designed to be read by screen-reading
                                  3   software, blind and visually-impaired persons are unable to fully access websites,
                                  4   and the information, products and services contained thereon.
                                  5         15.    Blind and visually-impaired users of Windows operating system-
                                  6   enabled computers and devices have several screen-reading software programs
                                  7   available to them. Some of these programs are available for purchase and other
                                  8   programs are available without the user having to purchase the program separately.
                                  9   Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 10   popular, separately purchased and downloaded screen-reading software program
                                 11   available for a Windows computer.
                                 12         16.    For screen-reading software to function, the information on a website
                                 13   must be capable of being rendered into text. If the website content is not capable of
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                                 14   being rendered into text, the blind or visually-impaired user is unable to access the
                                 15   same content available to sighted users.
                                 16         17.    The international website standards organization, the World Wide
                                 17   Web Consortium, known throughout the world as W3C, has published Success
                                 18   Criteria for version 2.0 of the Web Content Accessibility Guidelines ("WCAG 2.0"
                                 19   hereinafter). WCAG 2.0 are well-established guidelines for making websites
                                 20   accessible to blind and visually-impaired people. These guidelines are adopted,
                                 21   implemented and followed by most large business entities who want to ensure their
                                 22   websites are accessible to users of screen-reading software programs. Though
                                 23   WCAG 2.0 has not been formally adopted as the standard for making websites
                                 24   accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 25   maintain and provide a website that is accessible under the ADA to the public.
                                 26         18.    Within this context, the Ninth Circuit has recognized the viability of
                                 27   ADA claims against commercial website owners/operators with regard to the
                                 28   accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                                                                 5
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  2   numerous courts that already recognized such application.
                                  3         19.    Each of Defendant’s violations of the Americans with Disabilities Act
                                  4   is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                  5   Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  6   Civil Rights Act. Cal. Civ. Code, § 51(f).
                                  7         20.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                  8   equal access to their accommodations, facilities and services. A substantial
                                  9   motivating reason for Defendant to deny Plaintiff access was the perception of
                                 10   Plaintiff’s disability. Defendant’s denial of Plaintiff’s accessibility was a substantial
                                 11   motivating reason for Defendant’s conduct. Plaintiff was harmed due to
                                 12   Defendant’s conduct. Defendant’s actions and inactions were a substantial factor in
                                 13   causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, §
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                                 14   51.
                                 15         21.    Inaccessible or otherwise non-compliant websites pose significant
                                 16   access barriers to blind and visually-impaired persons. Common barriers
                                 17   encountered by blind and visually impaired persons include, but are not limited to,
                                 18   the following:
                                 19                a. A text equivalent for every non-text element is not provided;
                                 20                b. Title frames with text are not provided for identification and
                                 21                    navigation;
                                 22                c. Equivalent text is not provided when using scripts;
                                 23                d. Forms with the same information and functionality as for sighted
                                 24                    persons are not provided;
                                 25                e. Information about the meaning and structure of content is not
                                 26                    conveyed by more than the visual presentation of content;
                                 27                f. Text cannot be resized without assistive technology up to 200
                                 28                    percent without loss of content or functionality;
                                                                                  6
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1            g. If the content enforces a time limit, the user is not able to extend,
                                  2               adjust or disable it;
                                  3            h. Web pages do not have titles that describe the topic or purpose;
                                  4            i. The purpose of each link cannot be determined from the link text
                                  5               alone or from the link text and its programmatically determined link
                                  6               context;
                                  7            j. One or more keyboard operable user interface lacks a mode of
                                  8               operation where the keyboard focus indicator is discernible;
                                  9            k. The default human language of each web page cannot be
                                 10               programmatically determined;
                                 11            l. When a component receives focus, it may initiate a change in
                                 12               context;
                                 13            m. Changing the setting of a user interface component may
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                                 14               automatically cause a change of context where the user has not been
                                 15               advised before using the component;
                                 16            n. Labels or instructions are not provided when content requires user
                                 17               input;
                                 18            o. In content which is implemented by using markup languages,
                                 19               elements do not have complete start and end tags, elements are not
                                 20               nested according to their specifications, elements may contain
                                 21               duplicate attributes and/or any IDs are not unique;
                                 22            p. Inaccessible Portable Document Format (PDFs) ; and,
                                 23            q. The name and role of all User Interface elements cannot be
                                 24               programmatically determined; items that can be set by the user
                                 25               cannot be programmatically set; and/or notification of changes to
                                 26               these items is not available to user agents, including assistive
                                 27               technology.
                                 28
                                                                           7
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                             FACTUAL BACKGROUND
                                  2         22.    Defendant offers the https://www.yoshinoyaamerica.com/ website, to
                                  3   the public. The website offers features which should allow all consumers to access
                                  4   the goods and services which Defendant offers in connection with its physical
                                  5   locations. The goods and services offered by Defendant include, but are not limited
                                  6   to the following, which allow consumers to access an assortment of Japanese
                                  7   modern cuisines including habanero chicken, grilled tilapia, teriyaki chicken, sweet
                                  8   chili shrimp, original beef, grilled steak bowls and other food and beverage menu
                                  9   items that are available for purchase in restaurant locations. Consumers can further
                                 10   access nutritional guides, information about restaurant locations, club discounts,
                                 11   employment and franchising opportunities.
                                 12         23.    Based on information and belief, it is Defendant's policy and practice
                                 13   to deny Plaintiff and Class Members, along with other blind or visually-impaired
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                                 14   users, access to Defendant’s website, and to therefore specifically deny the goods
                                 15   and services that are offered and integrated with Defendant’s restaurants. Due to
                                 16   Defendant's failure and refusal to remove access barriers on its website, Plaintiff
                                 17   and other visually-impaired persons have been and are still being denied equal and
                                 18   full access to Defendant’s restaurants and the assortment of Japanese fast food menu
                                 19   items offered to the public through Defendant’s Website.
                                 20   Defendant’s Barriers on Unruh Civil Rights Act. Cal. Civ. Code, § 51(f) Deny
                                 21                         Plaintiff and Class Members’ Access
                                 22         24.    Plaintiff is a visually-impaired and legally blind person, who cannot
                                 23   use a computer without the assistance of screen-reading software. However,
                                 24   Plaintiff is a proficient user of the JAWS screen-reader as well as Mac’s VoiceOver
                                 25   and   both    use    it   to   access    the   internet.   Plaintiff   has   visited
                                 26   https://www.yoshinoyaamerica.com/ on several separate occasions using the JAWS
                                 27   and/or VoiceOver screen-readers.
                                 28         25.    During Plaintiff’s several visits to Defendant’s website, Plaintiff
                                                                               8
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   encountered multiple access barriers which denied Plaintiff full and equal access to
                                  2   the facilities, goods and services offered to the public and made available to the
                                  3   public on Defendant’s website, and its prior iterations. Due to the widespread access
                                  4   barriers Plaintiff and Class Members encountered on Defendant’s website, Plaintiff
                                  5   and Class Members have been deterred, on a regular basis, from accessing
                                  6   Defendant’s website. Similarly, the access barriers Plaintiff has encountered on
                                  7   Defendant’s website have deterred Plaintiff and Class Members from visiting
                                  8   Defendant’s brick-and-mortar restaurants.
                                  9         26.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                 10   Members encountered multiple accessibility barriers for blind or visually-impaired
                                 11   people that include, but are not limited to, the following:
                                 12                a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 13                   is invisible code embedded beneath a graphic or image on a website
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                                 14                   that is read to a user by a screen-reader. For graphics or images to
                                 15                   be fully accessible for screen-reader users, it requires that alt-text
                                 16                   be coded with each graphic or image so that screen-reading
                                 17                   software can speak the alt-text to describe the graphic or image
                                 18                   where a sighted user would just see the graphic or image. Alt-text
                                 19                   does not change the visual presentation, but instead a text box
                                 20                   shows when the cursor hovers over the graphic or image. The lack
                                 21                   of alt-text on graphics and images prevents screen-readers from
                                 22                   accurately vocalizing a description of the image or graphic. As a
                                 23                   result, Plaintiff and Class Members who are blind and visually-
                                 24                   impaired customers are unable to determine what food menu items
                                 25                   are available for purchase, find Defendant’s restaurant locations, or
                                 26                   complete any purchases;
                                 27                b. Empty Links that contain No Text causing the function or purpose
                                 28                   of the link to not be presented to the user. This can introduce
                                                                                9
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                                  1                   confusion for keyboard and screen-reader users;
                                  2                c. Redundant Links where adjacent links go to the same URL address
                                  3                   which results in additional navigation and repetition for keyboard
                                  4                   and screen-reader users; and
                                  5                d. Linked Images missing alt-text, which causes problems if an image
                                  6                   within a link does not contain any descriptive text and that image
                                  7                   does not have alt-text. A screen reader then has no content to
                                  8                   present the user as to the function of the link, including information
                                  9                   or links for and contained in PDFs.
                                 10         27.    Recently in 2019, Plaintiff attempted to do business with Defendant
                                 11   on Defendant’s website. Plaintiff has visited prior iterations of the website
                                 12   https://www.yoshinoyaamerica.com/ and also encountered barriers to access on
                                 13   Defendant’s website.
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                                 14         28.    Despite past and recent attempts to do business with Defendant on its
                                 15   website, the numerous access barriers contained on the website and encountered by
                                 16   Plaintiff, has denied Plaintiff full and equal access to Defendant’s website. Plaintiff
                                 17   and Class Members, as a result of the barriers on Defendant’s website, continue to
                                 18   be deterred on a regular basis from accessing Defendant’s website. Likewise, based
                                 19   on the numerous access barriers Plaintiff and Class Members have been deterred
                                 20   and impeded from the full and equal enjoyment of goods and services offered in
                                 21   Defendant’s restaurants and from making purchases at such physical locations.
                                 22                      Defendant Must Remove Barriers to Its Website
                                 23         29.    Due to the inaccessibility of the Defendant’s website, blind and
                                 24   visually-impaired customers such as the Plaintiff, who need screen-readers, cannot
                                 25   fully and equally use or enjoy the facilities and services the Defendant offers to the
                                 26   public on its website. The access barriers the Plaintiff has encountered have caused
                                 27   a denial of Plaintiff’s full and equal access in the past, and now deter Plaintiff on a
                                 28   regular basis from accessing the website.
                                                                                10
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1         30.    These access barriers on Defendant’s website have deterred Plaintiff
                                  2   from visiting Defendant’s physical locations, and enjoying them equal to sighted
                                  3   individuals because: Plaintiff was unable to find the location and hours of operation
                                  4   of Defendant’s locations on its website, preventing Plaintiff from visiting the
                                  5   locations to view and purchase products and/or services. Plaintiff and Class
                                  6   Members intend to visit the Defendant’s locations in the near future if Plaintiff and
                                  7   Class Members could access Defendant’s website.
                                  8         31.    If the website was equally accessible to all, Plaintiff and Class
                                  9   Members could independently navigate the website and complete a desired
                                 10   transaction, as sighted individuals do.
                                 11         32.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 12   knowledge of the access barriers that make these services inaccessible and
                                 13   independently unusable by blind and visually-impaired people.
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                                 14         33.    Because simple compliance with WCAG 2.0/WCAG 2.1 would
                                 15   provide Plaintiff and Class Members who are visually-impaired consumers with
                                 16   equal access to the website, Plaintiff and Class Members allege that Defendant
                                 17   engaged in acts of intentional discrimination, including, but not limited to, the
                                 18   following policies or practices: constructing and maintaining a website that is
                                 19   inaccessible to visually-impaired individuals, including Plaintiff and Class
                                 20   Members; failing to construct and maintain a website that is sufficiently intuitive so
                                 21   as to be equally accessible to visually-impaired individuals, including Plaintiff and
                                 22   Class Members; and failing to take actions to correct these access barriers in the
                                 23   face of substantial harm and discrimination to blind and visually-impaired
                                 24   consumers, such as Plaintiff and Class Members, as a member of a protected class.
                                 25         34.    The Defendant uses standards, criteria or methods of administration
                                 26   that have the effect of discriminating or perpetuating the discrimination against
                                 27   others, as alleged herein.
                                 28
                                                                                11
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1         35.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                  2   seeks in this action. In relevant part, the ADA requires:
                                  3         In the case of violations of … this title, injunctive relief shall include
                                            an order to alter facilities to make such facilities readily accessible to
                                  4         and usable by individuals with disabilities …. Where appropriate,
                                            injunctive relief shall also include requiring the … modification of a
                                  5         policy …. 42 U.S.C. § 12188(a)(2).
                                  6         36.    Because Defendant’s website has never been equally accessible, and
                                  7   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                  8   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                  9   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the defendant to
                                 10   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 11   with WCAG 2.0/WCAG 2.1 guidelines for Defendant’s website. The website must
                                 12   be accessible for individuals with disabilities who use desktop computers, laptops,
                                 13   tablets and smartphones. Plaintiff and Class Members seek that this permanent
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                                 14   injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 15   Defendant’s employees and agents who develop the website on accessibility
                                 16   compliance under the WCAG 2.0/WCAG 2.1 guidelines; regularly check the
                                 17   accessibility of the website under the WCAG 2.0/WCAG 2.1 guidelines; regularly
                                 18   test user accessibility by blind or vision-impaired persons to ensure that the
                                 19   Defendant’s website complies under the WCAG 2.0/WCAG 2.1 guidelines; and
                                 20   develop an accessibility policy that is clearly disclosed on the Defendant’s website,
                                 21   with contact information for users to report accessibility-related problems and
                                 22   require that any third-party vendors who participate on the Defendant’s website to
                                 23   be fully accessible to the disabled by conforming with WCAG 2.0/WCAG 2.1.
                                 24          37.   If Defendant’s website were accessible, Plaintiff and Class Members
                                 25   could independently access information about restaurant locations, hours, services
                                 26   offered and services available for online purchase.
                                 27         38.    Although Defendant may currently have centralized policies regarding
                                 28   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                                                                12
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                  2   and independently usable by, blind and other visually-impaired consumers.
                                  3          39. Defendant has, upon information and belief, invested substantial sums
                                  4   in developing and maintaining Defendant’s website and Defendant has generated
                                  5   significant revenue from Defendant’s website. These amounts are far greater than
                                  6   the associated cost of making Defendant’s website equally accessible to visually
                                  7   impaired customers. Plaintiff has also visited prior iterations of the Defendant’s
                                  8   website, https://www.yoshinoyaamerica.com/ and also encountered such barriers.
                                  9          40. Without injunctive relief, Plaintiff and Class Members will continue to
                                 10   be unable to independently use Defendant’s website, violating their rights.
                                 11                          CLASS ACTION ALLEGATIONS
                                 12          41. Plaintiff, on behalf of himself and all others similarly situated, seeks
                                 13   to certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the
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                                 14   Nationwide class is initially defined as follows:
                                 15         all legally blind individuals who have attempted to access Defendant’s
                                            website by the use of a screen reading software during the applicable
                                 16
                                            limitations period up to and including final judgment in this action.
                                 17         42.    The California class is initially defined as follows:
                                 18         all legally blind individuals in the State of California who have
                                 19         attempted to access Defendant’s website by the use of a screen reading
                                            software during the applicable limitations period up to and including
                                 20         final judgment in this action.
                                 21         43.    Excluded from each of the above Classes is Defendant, including any
                                 22   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 23   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 24   representatives, heirs, predecessors, successors and assigns of Defendant. Also
                                 25   excluded are the judge and the court personnel in this case and any members of their
                                 26   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 27   discovery and further investigation reveal that the Classes should be expanded or
                                 28   otherwise modified.
                                                                                13
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                                  1         44.    Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and
                                  2   may properly be maintained as a class action against Defendant under Rules
                                  3   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                  4   number and identities of other Class Members are unknown to Plaintiff at this time,
                                  5   Plaintiff is informed and believes that there are hundreds of thousands of Members
                                  6   in the Class. Based on the number of customers who have visited Defendant’s
                                  7   California restaurants, it is estimated that the Class is composed of more than 10,000
                                  8   persons. Furthermore, even if subclasses need to be created for these consumers, it
                                  9   is estimated that each subclass would have thousands of Members. The Members
                                 10   of the Class are so numerous that joinder of all Members is impracticable and the
                                 11   disposition of their claims in a class action rather than in individual actions will
                                 12   benefit the parties and the courts.
                                 13         45.    Typicality: Plaintiff and Class Members’ claims are typical of the
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                                 14   claims of the Members of the Class as all Members of the Class are similarly
                                 15   affected by Defendant’s wrongful conduct, as detailed herein.
                                 16         46.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 17   the Members of the Class in that they have no interests antagonistic to those of the
                                 18   other Members of the Class. Plaintiff has retained experienced and competent
                                 19   counsel.
                                 20         47.    Superiority: A class action is superior to other available methods for
                                 21   the fair and efficient adjudication of this controversy. Since the damages sustained
                                 22   by individual Class Members may be relatively small, the expense and burden of
                                 23   individual litigation makes it impracticable for the Members of the Class to
                                 24   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 25   adjudication of this controversy through a class action will avoid the potentially
                                 26   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 27   be no difficulty in the management of this action as a class action. If Class treatment
                                 28   of these claims were not available, Defendant would likely unfairly receive
                                                                                14
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                                  1   thousands of dollars or more in improper revenue.
                                  2         48.    Common Questions Predominate: Common questions of law and fact
                                  3   exist as to all Members of the Class and predominate over any questions solely
                                  4   affecting individual Members of the Class. Among the common questions of law
                                  5   and fact applicable to the Class are:
                                  6                    i. Whether Defendant’s website,
                                  7                       https://www.yoshinoyaamerica.com/, is inaccessible to the
                                  8                       visually-impaired who use screen reading software to access
                                  9                       internet websites;
                                 10                   ii. Whether Plaintiff and Class Members have been unable to
                                 11                       access https://www.yoshinoyaamerica.com/ through the use of
                                 12                       screen reading software;
                                 13                  iii. Whether the deficiencies in Defendant’s website violate the
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                                 14                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 15                       seq.;
                                 16                  iv. Whether the deficiencies in Defendant’s website violate the
                                 17                       California Unruh Civil Rights Act, California Civil Code § 51
                                 18                       et seq.;
                                 19                   v. Whether, and to what extent, injunctive relief should be imposed
                                 20                       on Defendant to make https://www.yoshinoyaamerica.com/
                                 21                       readily accessible to and usable by visually-impaired
                                 22                       individuals;
                                 23                  vi. Whether Plaintiff and Class Members are entitled to recover
                                 24                       statutory damages with respect to Defendant’s wrongful
                                 25                       conduct; and
                                 26                  vii. Whether further legal and/or equitable relief should be granted
                                 27                       by the Court in this action.
                                 28         49.    The class is readily definable, and prosecution of this action as a Class
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                                  1   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                  2   difficulty which will be encountered in the management of this litigation which
                                  3   would preclude their maintenance of this matter as a Class action.
                                  4         50.    The prerequisites to maintaining a class action for injunctive relief or
                                  5   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                  6   to act on grounds generally applicable to the Class, thereby making appropriate final
                                  7   injunctive or equitable relief with respect to the Class as a whole.
                                  8         51.    The prerequisites to maintaining a class action for injunctive relief or
                                  9   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 10   common to the Class predominate over any questions affecting only individual
                                 11   Members; and a class action is superior to other available methods for fairly and
                                 12   efficiently adjudicating the controversy.
                                 13         52.    The prosecution of separate actions by Members of the Class would
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                                 14   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 15   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 16   interest of all Members of the Class, although certain Class Members are not parties
                                 17   to such actions.
                                 18         53.    Defendant’s conduct is generally applicable to the Class as a whole
                                 19   and Plaintiff seek, inter alia, equitable remedies with respect to the Class as a whole.
                                 20   As such, Defendant’s systematic policies and practices make declaratory relief with
                                 21   respect to the Class as a whole appropriate.
                                 22                                         COUNT I
                                 23    Violations of the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.
                                 24         (On Behalf of Plaintiff, the Nationwide Class and the California Class)
                                 25         54.    Plaintiff alleges and incorporates herein by reference each and every
                                 26   allegation contained in paragraphs 1 through 53, inclusive, of this Complaint as if
                                 27   set forth fully herein.
                                 28         55.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
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                                  1   provides: “No individual shall be discriminated against on the basis of disability in
                                  2   the full and equal enjoyment of the goods, services, facilities, privileges,
                                  3   advantages, or accommodations of any place of public accommodation by any
                                  4   person who owns, leases (or leases to), or operates a place of public
                                  5   accommodation.” 42 U.S.C. § 12182(a).
                                  6         56.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                  7   discrimination also includes, among other things: “a failure to make reasonable
                                  8   modifications in policies, practices, or procedures, when such modifications are
                                  9   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 10   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 11   that making such modifications would fundamentally alter the nature of such goods,
                                 12   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 13   take such steps as may be necessary to ensure that no individual with a disability is
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                                 14   excluded, denied services, segregated or otherwise treated differently than other
                                 15   individuals because of the absence of auxiliary aids and services, unless the entity
                                 16   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 17   good, service, facility, privilege, advantage, or accommodation being offered or
                                 18   would result in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 19   accommodation shall take those steps that may be necessary to ensure that no
                                 20   individual with a disability is excluded, denied services, segregated or otherwise
                                 21   treated differently than other individuals because of the absence of auxiliary aids
                                 22   and services, unless the public accommodation can demonstrate that taking those
                                 23   steps would fundamentally alter the nature of the goods, services, facilities,
                                 24   privileges, advantages, or accommodations being offered or would result in an
                                 25   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order
                                 26   to be effective, auxiliary aids and services must be provided in accessible formats,
                                 27   in a timely manner, and in such a way as to protect the privacy and independence
                                 28   of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                                                                17
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                                  1         57.    Defendant’s restaurant locations are “public accommodations” within
                                  2   the meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars
                                  3   in revenue from the sale of its amenities and services, privileges, advantages, and
                                  4   accommodations in California through its locations, related services, privileges,
                                  5   advantages          and        accommodations           and         its        Website,
                                  6   https://www.yoshinoyaamerica.com/ is a service, privilege, advantage and
                                  7   accommodation provided by Defendant that is inaccessible to customers who are
                                  8   visually-impaired like Plaintiff. This inaccessibility denies visually-impaired
                                  9   customers full and equal enjoyment of and access to the facilities and services,
                                 10   privileges, advantages and accommodations that Defendant made available to the
                                 11   non-disabled public. Defendant is violating the Americans with Disabilities Act, 42
                                 12   U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the
                                 13   services,    privileges,   advantages     and     accommodations          provided   by
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                                 14   https://www.yoshinoyaamerica.com/. These violations are ongoing.
                                 15         58.    Defendant’s actions constitute intentional discrimination against
                                 16   Plaintiff and Class Members on the basis of a disability in violation of the
                                 17   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                 18   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 19   the website in this inaccessible form; and has failed to take adequate actions to
                                 20   correct these barriers even after being notified of the discrimination that such
                                 21   barriers cause.
                                 22         59.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
                                 23   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 24                                        COUNT II
                                 25    Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.
                                 26                      (On Behalf of Plaintiff and the California Class)
                                 27         60.    Plaintiff alleges and incorporates herein by reference each and every
                                 28   allegation contained in paragraphs 1 through 53, inclusive, of this Complaint as if
                                                                                18
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                                  1   set forth fully herein.
                                  2         61.    Defendant’s locations are “business establishments” within the
                                  3   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
                                  4   dollars in revenue from the sale of its services in California through its restaurant
                                  5   locations and related services and https://www.yoshinoyaamerica.com/ is a service
                                  6   provided by Defendant that is inaccessible to customers who are visually-impaired
                                  7   like Plaintiff and Class Members. This inaccessibility denies visually-impaired
                                  8   customers full and equal access to Defendant’s facilities and services that Defendant
                                  9   makes available to the non-disabled public. Defendant is violating the Unruh Civil
                                 10   Rights Act, California Civil Code § 51 et seq., in that Defendant is denying visually-
                                 11   impaired customers the services provided by https://www.yoshinoyaamerica.com/.
                                 12   These violations are ongoing.
                                 13         62.    Defendant’s actions constitute intentional discrimination against
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                                 14   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                 15   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 16   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                 17   in this inaccessible form; and has failed to take adequate actions to correct these
                                 18   barriers even after being notified of the discrimination that such barriers cause.
                                 19         63.    Defendant is also violating the Unruh Civil Rights Act, California
                                 20   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 21   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 22   of the California Civil Code provides that a violation of the right of any individual
                                 23   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 24         64.    The actions of Defendant were and are in violation of the Unruh Civil
                                 25   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                 26   Members are entitled to injunctive relief remedying the discrimination.
                                 27         65.    Plaintiff and Class Members are also entitled to statutory minimum
                                 28   damages pursuant to California Civil Code § 52 for each and every offense.
                                                                                19
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                                  1         66.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                  2   fees and costs.
                                  3         67.    Plaintiff and Class Members are also entitled to a preliminary and
                                  4   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                  5   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                  6   necessary to make https://www.yoshinoyaamerica.com/ readily accessible to and
                                  7   usable by visually-impaired individuals.
                                  8                                PRAYER FOR RELIEF
                                  9         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 10   respectfully requests that the Court enter judgment in his favor and against
                                 11   Defendant as follows:
                                 12         A.     For an Order certifying the Nationwide Class and California Class as
                                 13                defined herein and appointing Plaintiff and his Counsel to represent
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                                 14                the Nationwide Class and the California Class;
                                 15         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 16                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 17                enjoining Defendant from violating the Unruh Civil Rights Act and
                                 18                ADA and requiring Defendant to take the steps necessary to make
                                 19                https://www.yoshinoyaamerica.com/ readily accessible to and usable
                                 20                by visually-impaired individuals;
                                 21         C.     An award of statutory minimum damages of $4,000 per offense per
                                 22                person pursuant to section 52(a) of the California Civil Code.
                                 23         D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 24                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 25         E.     For pre-judgment interest to the extent permitted by law;
                                 26         F.     For costs of suit; and;
                                 27         G.     For such other and further relief as the Court deems just and proper.
                                 28
                                                                                 20
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                                  1                             DEMAND FOR JURY TRIAL
                                  2         Plaintiff, on behalf of himself and all others similarly situated, hereby
                                  3   demands a jury trial for all claims so triable.
                                  4
                                  5   Dated: January 22, 2020                           Respectfully Submitted,
                                  6
                                  7                                                     /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho
                                  8                                                     Bobby Saadian
                                  9                                                     WILSHIRE LAW FIRM
                                                                                        Attorneys for Plaintiff and
                                 10                                                     Proposed Class
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